         Case 5:18-cr-00227-SLP Document 215-16 Filed 02/11/22 Page 1 of 6

This transcript was exported on Dec 14, 2021 - view latest version here.


Agent Matthew Bryant (00:09):
Okay.

James Garretson (00:10):
What's going on?

Agent Matthew Bryant (00:10):
I'm officially pissed with you.

James Garretson (00:12):
What did I do?

Agent Matthew Bryant (00:15):
I'm not pissed at you. I'm pissed with you.

James Garretson (00:18):
Oh, okay. I was like, what did I do?

Agent Matthew Bryant (00:23):
Nothing. Well, he threw me under the bus just as hard, didn't he?

James Garretson (00:29):
You wouldn't even know the first of it, man. He's ruined my relationship. Me and Brittany split up.

Agent Matthew Bryant (00:36):
I didn't know that.

James Garretson (00:38):
Yeah. She showed me text today that he's been texting her and what Jen Garrett's been telling her,
things that aren't even fucking true. I mean, I work all day. I don't have time to fucking cheat on her and
all this other stuff. Saying all this shit. Jeff Johnson's been texting her, all this shit, telling her all this shit.
I'm livid, man. I don't even know what I'm going to do when I go to court, man. I'm telling you I'm at to
the point where I just want to go there, plead the Fifth, and go home. I mean I'm to that point, Matt. I
mean, because it's wrecked my whole life.

Agent Matthew Bryant (01:12):
Yeah. I get it, dude. But then Jeff Johnson wins.

James Garretson (01:16):
But we've done nothing other than put Joe away. Now, Jeff Johnson's talking to Joe. I didn't know that. I
can't try to keep him at bay. And now he's in bed with Joe.

Agent Matthew Bryant (01:33):


3.12 (Completed 09/24/21)                                                                             Page 1 of 6
Transcript by Rev.com
                                                                                                     Exhibit 16
        Case 5:18-cr-00227-SLP Document 215-16 Filed 02/11/22 Page 2 of 6

This transcript was exported on Dec 14, 2021 - view latest version here.


Here's the deal. He's mad at me because I quit paying him attention. He's mad at you because you
stopped paying him attention.

James Garretson (01:40):
I didn't answer his calls three times last week and that's why he started posting about me.

Agent Matthew Bryant (01:46):
He asked me to meet last week and I said, "Dude, I'm too busy." And now he was mad at Joe or Jeff and
he took it out on Jeff for a while. Whoever doesn't give him attention and that's when he goes off on.
But we got to stay the course on this, buddy, and we got to finish this deal. Jeff Lowe, this is an ongoing
investigation. Ain't nothing closed. You've heard me say that and you've been there with me and
through your frustration, you've got the big picture. I know you do. I know you're frustrated, but he
threw me under the bus now that I made all these allegations. None of the facts are even remotely right.

James Garretson (02:30):
No, I know.

Agent Matthew Bryant (02:32):
I mean he says that I talked to you because I knew you had sold a lemur and held a lemur over your
head. I would've never known about the lemur unless you had told me.

James Garretson (02:40):
And I told you that. Yes.

Agent Matthew Bryant (02:42):
Yeah. So how am I going to talk to you and contact you because I knew you had sold a lemur?

James Garretson (02:48):
And I didn't sell lemur. I bought a lemur.

Agent Matthew Bryant (02:52):
I mean, it's so stupid. I mean, we got to beat Jeff Johnson. We got to beat the little twerps that sit there
behind their keyboard at night and drink because they don't have a life.

James Garretson (03:05):
Look what time he posts everything. All late at night, 10:00, 11:00, 12:00 at night. But yeah, he's done so
much damage. He's inboxed everybody I know on my Facebook page, inboxed my friends, inboxed
Brittany, inboxed her sister, trying to get-

Agent Matthew Bryant (03:26):
You know Brittany's not going to believe somebody like Jeff Johnson as much trouble as he caused.

James Garretson (03:30):



3.12 (Completed 09/24/21)                                                                     Page 2 of 6
Transcript by Rev.com
                                                                                            Exhibit 16
        Case 5:18-cr-00227-SLP Document 215-16 Filed 02/11/22 Page 3 of 6

This transcript was exported on Dec 14, 2021 - view latest version here.


It's not that she believes, but it's just they're always in her ear. And we started getting these anonymous
texts, I don't know, a few months ago about I was cheating on her with some girl in Ringling and I called
the number back and it was somebody answered it. I blocked the number and called it back and it was
somebody I didn't recognize the voice. So, I had all these people just texting her all these things that
supposedly I've done. She knew they're bullshit because half the time they were saying the things, I was
sitting at my store or whatever. But now I placed those tigers. They're tearing me apart. The shit's got to
stop somewhere.

Agent Matthew Bryant (04:21):
It does. It does. It really does. And I mean, he's made me out to be a freaking blooming lunatic agent. I'm
going to get just-

James Garretson (04:34):
Oh, I know.

Agent Matthew Bryant (04:34):
Crucified on the stand over that because of it. None of it is factually based. And the whole deal was my
relationship with Johnson. And I told you about this because you got friendly with Johnson for a while
because you thought he was legit and doing the right thing. And I did as well.

James Garretson (04:51):
I brought him to my house and let him play with the freaking cubs.

Agent Matthew Bryant (04:56):
And he turns on us like that. I am so livid. I am absolutely livid. I got a meeting at the attorney's office at
9:00 in the morning to figure out how-

James Garretson (05:15):
And then Joe, I guess posted a big long thing that his jury's great and this has all come together.
Wonderful. I'm telling you, this is just like... There's news stations everywhere. I mean, this is not going
to end pretty for anybody. It's just really not. I mean, I wouldn't be surprised if I didn't have a hate page
up tomorrow by Jeff Johnson because I quit taking his calls and I told him, "I don't want to talk to you. I
have nothing to say." And that's when he started just blasting me. I called Larry Rhodes, left Larry
Rhodes a message about him threatening to kill Jeff Lowe and Larry Rhodes wouldn't even call me back.

Agent Matthew Bryant (06:01):
Well, I can check on that for you.

James Garretson (06:03):
And supposedly, Larry Rhode and Jeff Lowe are all friendly now. So I mean, you don't know who to trust
in this thing.

Agent Matthew Bryant (06:10):
That's not a fact.


3.12 (Completed 09/24/21)                                                                       Page 3 of 6
Transcript by Rev.com
                                                                                               Exhibit 16
            Case 5:18-cr-00227-SLP Document 215-16 Filed 02/11/22 Page 4 of 6

This transcript was exported on Dec 14, 2021 - view latest version here.


James Garretson (06:11):
It's not?

Agent Matthew Bryant (06:13):
That's what Jeff may want people to think because Jeff also wants people to think that he's got a federal
agent in his back pocket that'll do anything for him too. And you know me well enough, we've been
down the road long enough to know, you know that ain't right.

James Garretson (06:28):
No, that ain't true. I mean, that ain't true. I'd go to my deathbed saying that. But I've said nothing. I've
stayed off of social media. I got on there a little bit, but I didn't say anything that's going to hurt
anything. Other than that one little phrase that I supposedly made, which I don't even recall it, but I
mean, I probably get 20 inboxes a day from different weirdos. Either Joe supporters call me a piece of
shit or yada yada, yada. Are you there?

Agent Matthew Bryant (07:10):
Yeah.

James Garretson (07:14):
Do you think any chance that he'll plea out or you think that's just over with?

Agent Matthew Bryant (07:16):
No.

James Garretson (07:18):
He's not going to plea?

Agent Matthew Bryant (07:25):
Nope, he won't now, but I tell you what. He thinks he's got a good jury. For our side, we think we have a
good jury. So he doesn't know. He doesn't know nothing about a jury.

James Garretson (07:41):
Yeah. Well, he's a lawyer now I guess. I don't know. But this Jeff Johnson's not going to make it easy on
nobody.

Agent Matthew Bryant (07:57):
We know what his game is and what he does.

James Garretson (08:02):
But his game is going to be this. It's like, once this is over then he's going to tag me and then he's going
to tag somebody else and he's going to make everybody a victim. That's what he's going to do. Even
Brittany told me a minute ago, she's like, "Yeah, you're going to go to court. It's going to be 10 times...
When you go up there, you're just going to be slammed non-stop." And then you got all these idiots that
were supposedly helping get rid of the trouble, to get rid of Joe, now all these idiots are on team Joe.

3.12 (Completed 09/24/21)                                                                      Page 4 of 6
Transcript by Rev.com
                                                                                              Exhibit 16
        Case 5:18-cr-00227-SLP Document 215-16 Filed 02/11/22 Page 5 of 6

This transcript was exported on Dec 14, 2021 - view latest version here.


And I don't even know what Jeff's position is. I wouldn't even put it past him to be talking to Joe because
he's telling everybody on Facebook that I orchestrated the whole deal, that I set Joe up for him.

Agent Matthew Bryant (08:52):
Yeah.

James Garretson (08:52):
Oh, man.

Agent Matthew Bryant (08:53):
Yeah. It is. Brother, just keep the faith. We know, and we have known this for a while, that he's a loose
cannon.

James Garretson (09:03):
Yeah. But I mean, you got a lot of others. Everybody that's in the [inaudible 00:09:06] in the whole deal
is just... If Jeff Lowe's not throwing me under the bus, Joe's throwing... At the end of the deal, the
government wins, Joe goes to jail. Look how much shit I got to put up with the rest of my life over this
shit.

Agent Matthew Bryant (09:26):
But I guess the only thing I can say back to that is consider the source of these people.

James Garretson (09:36):
No, no, no. I'm good with the source. I know what he is and I know what Lowe is and I know what these
people are, but you got to think like the US attorney, she can go home at night. She can go home and it's
all done. With me, I can't because I'm going to get fucked with no matter what, and I didn't think I was
going to get jacked this bad by people that I trusted. That's the problem with the whole Jeff Johnson
stuff. I know he's loose cannon, but to go out there and just throw me under the bus like that. I don't
know. It's all messed up. I don't know. All right. I'm going a bit batty. I'll holler at you in the morning,
Matt.

Agent Matthew Bryant (10:27):
Dude, just you and I have developed a friendship and I think it's the real deal.

James Garretson (10:34):
Yeah, and I'm good and I'm a hundred percent for you. I would never throw you under the bus. I would
never. I mean, I'm just not that person, but...

Agent Matthew Bryant (10:40):
Well, and even besides that, you gave up a lot, we [inaudible 00:10:46] through a lot through this case
together and I just want you to keep your chin up and I'll just try my best.

James Garretson (10:54):



3.12 (Completed 09/24/21)                                                                   Page 5 of 6
Transcript by Rev.com
                                                                                            Exhibit 16
        Case 5:18-cr-00227-SLP Document 215-16 Filed 02/11/22 Page 6 of 6

This transcript was exported on Dec 14, 2021 - view latest version here.


My chin's up, but here's the deal. Here's the deal with these, this Jen Garrett, Jeff Lowe, they cost me my
fucking house. Okay? They cost me my freaking real relationship. They're steadily freaking just throwing
rocks. And somewhere they're breaking the law, I've done everything legally I can do, made reports and
things. And the law's not on my side. That's the problem that I have. Oh, [inaudible 00:11:28]




3.12 (Completed 09/24/21)                                                                  Page 6 of 6
Transcript by Rev.com
                                                                                          Exhibit 16
